                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF ALABAMA
                                   NORTHERN DIVISION

 IN RE:                                        )
 JAMES WILSON McMEANS, JR.                     )      CASE NO. 18-82525-CRJ12
                                               )           CHAPTER 12
        DEBTOR.                                )

                NOTICE OF APPEARANCE AND REQUEST FOR SERVICE

        PLEASE TAKE NOTICE that Mark P. Williams hereby appears on behalf of Monsanto

 Company, a creditor and interested party in the above-styled bankruptcy proceeding, and

 requests that copies of all papers, including, but not limited to, all notices (including those

 required by Bankruptcy Rule 2002), pleadings, motions, applications, lists, schedules,

 statements, and all other matters arising herein, be duly served upon the undersigned, at the

 address set forth below.

                                    Mark P. Williams
                        NORMAN, WOOD, KENDRICK AND TURNER
                              Ridge Park Place, Suite 3000
                                 1130 22nd Street South
                                Birmingham, AL 35205
                                     (205) 328-6643
                                 (205) 251-5479 – Fax
                             E-mail: mpwilliams@nwkt.com

        PLEASE TAKE FURTHER NOTICE that the undersigned intends that neither this

 Notice of Appearance nor any later appearance, pleadings, or claim shall not be deemed or

 construed to be a waiver of the rights of Monsanto Company: (1) to have final orders in noncore

 matters entered only after de novo review by a District Judge; (2) to trial by jury in any

 proceeding so triable in this case or any case, controversy, or proceeding related to this case; (3)

 to have the District Court withdraw the reference in any matter subject to mandatory or

 discretionary withdrawal; or (4) or any other rights, claims, actions, defenses, setoffs, or




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 recoupment to which Monsanto Company is or may be entitled, in law or in equity, all of which

 rights, claims, actions, defenses, setoffs, and recoupments Monsanto Company expressly

 reserves.

             Respectfully submitted this the 30th day of October, 2018.

                                                                                          /s/Mark P. Williams
                                                                                          ______________________________
                                                                                          Mark P. Williams, Attorney for
                                                                                          Monsanto Company

 OF COUNSEL:

 NORMAN, WOOD, KENDRICK AND TURNER
 Ridge Park Place, Suite 3000
 1130 22nd Street South
 Birmingham, AL 35205
 (205) 328-6643

                                                       CERTIFICATE OF SERVICE

         I hereby certify that on this 30th day of October, 2018 I filed the foregoing electronically;
 and that I have served a copy of the foregoing via the CM/ECF system which provides service to
 all counsel of record.

                                                                                          /s/Mark P. Williams
                                                                                          ______________________________
                                                                                          OF COUNSEL
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